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Our File No.: 10218-V



                               UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY
                                          Camden Vicinage

 AUDREY YEUNG by her subrogee WESCO                      Civil Action No.
 INSURANCE COMPANY,

 Plaintiff(s),
                                                                       COMPLABVT
 V.



AMAZON.COM,INC., ABC CORP.(1-20)
(fictitious and unidentified business entities),

 Defendant(s).

       Plaintiff, Audrey Yeung, by her subrogee, Wesco Insurance Company, with a place of

business located at 800 Superior Avenue East, Cleveland, Ohio 44114, by way of complaint

against the defendants says:

                                          JURISDICTION


        1.       Jurisdiction in this case is based on diversity of citizenship of the parties and the

amount in controversy. The plaintiff resides in Philadelphia, Pennsylvania. The location of the

incident underlying this litigation is in Vineland, New Jersey. Defendant, Amazon.com, Inc., is a

corporation having its principal place of business in the State of Washington. The amount in

controversy exceeds the sum of seventy-five thousand dollars ($75,000.00), exclusive of interest

and costs.
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                                            PARTIES


       2.      Plaintiff, Audrey Yeung, resided in Philadelphia, Pennsylvania and owned the

property located at 505 East Landis Avenue,Vineland,New Jersey, which was rented to plaintiffs

insured's tenants, Megan Brown and Christian Monroig.

       3.      Defendant, Amazon.com, Inc. ("Amazon"), is a corporation involved in the

distribution, marketing and digital sale of, among others, electronic accessories including, but not

limited to, hoverboards, and has corporate headquarters at 1200 12^ Avenue South, Suite 1200,

Seattle, Washington 98144-2734,is incorporated under the laws ofthe State of Delaware and has

a principal place of business in the State of Washington.

       4.      At all times relevant hereto defendant, ABC Corps. 1-20, are the fictitious names

of individuals who may have played a role in the sale, manufacture, distribution and/or design of

the subject product.

                                        BACKGROUND


       5.      On or about November 28,2016,a fire occurred at the property located at 505 East

Landis Avenue, Vineland, New Jersey ("the property"), which was owned by Audrey Yeung.

       6.      The fire was found to have originated from a hoverboard which had been purchased

online on November 26, 2015 through Amazon's Marketplace by plaintiffs insured's tenant,

Megan Brown,for Christian Monroig.

       7.      While in the care, custody, and control of plaintiffs insured's tenants, the

hoverboard started a fire which spread throughout the plaintiffs property.

       8.      As a direct and proximate result of this fire and the negligence of the defendants,

plaintiffs insured sustained severe and significant property damage.
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                                             COUNT 1
                               STRICT PRODUCTS LIABILITY


       9.      Plaintiff repeats the allegations set forth in paragraphs 1 through 17 as though set

forth at length herein.

        10.    Defendants were at all relevant times hereto involved in the distribution, marketing,

sale and/or placing into the stream of commerce, hoverboards, and did distribute, market, sell

and/or place into the stream ofcommerce the hoverboards at issue in this case.

        11.    At all times relevant to hereto, the hoverboard was defective as to design and

manufacture at the time it left the facilities of defendants.

        12.    The defects present at the time the hoverboard was sold, distributed, or placed into

the stream ofcommerce including, but are not limited to:

               a. The hoverboard presented an unreasonable dangerous risk that it would cause a
                   fire while in use;
               b. The materials and the design ofthe hoverboard were insufficient or inadequate
                  so as to prevent the hoverboard from causing a fire while in use;
               c. Defendants failed to ensure the presence of adequate safety features, including
                  but not limited to adequate thermal sensors, in order to prevent the hoverboard
                  from overheating and causing a fire;
               d. Defendants failed to ensure the presence of features which might prevent an
                  electrical malfimction from causing a fire;
               e. The hoverboard was unsafe for its intended and foreseeable uses;
               f. The materials and design ofthe hoverboard created an unreasonably dangerous
                   risk offire; and
               g. Failure to incorporate safety devices or features capable of detecting and/or
                  interrupting a failure or preventing a failure from causing a fire.

       13.     Upon information and belief, at the time of the fire, the hoverboard was in

substantially the same condition as it was at the time it was designed, manufactured, distributed,

marketed, and/or sold by defendants.
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        14.    Under the circumstances then and there existing, defendants' hoverboard was

unsafe for its intended use for the reason that the product had caused an unreasonably dangerous

condition.


        15.    The fire, and the subsequent injuries sustained by the plaintiffs insured, were due

to and proximately caused by the aforementioned defective and unreasonably dangerous condition

ofthe hoverboard.


        WHEREFORE, plaintiff demands judgment for compensatory damages against

defendants,jointly and severally, in an amount in excess of $200,000, together with the costs of

this action, and any other reliefthis Court may deem just and proper.

                                       SECOND COUNT
                                    BREACH OF WARRANTY


        16.    Plaintiff repeats the allegations set forth in paragraphs 1 through 25 as though set

forth at length herein.

        17.    At all times relevant herein defendants were involved in the design, manufacture,

distribution, marketing, sale and/or placing into the stream of commerce, hoverboards, and did

design, manufacture, distribute, market, sell and/or place into the stream of commerce the

hoverboard at issue in this case.

        18.    Defendants expressly and/or impliedly warranted that the subject hoverboard was

of merchantable quality and was safe and fit for the purpose intended when used under ordinary

conditions and in an ordinary or foreseeable manner.

       19.     The fire on November 28,2016 and the consequent damages sustained by plaintiffs

insured were caused by defendants' breach ofsuch express and/or implied warranties.

       20.     As a direct and proximate result of the breach of the express and/or implied

warranties, the subject incident occurred, causing severe and significant property damage.
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       21.     By reason of the foregoing, plaintiff sustained severe and significant damages in

excess of$200,000.

        WHEREFORE, plaintiff demands judgment for compensatory damages against

defendants,jointly and severally, together with interest, attorney's fees and costs of suit.

                                         THIRD COUNT
                                          NEGLIGENCE


       22.     Plaintiff repeats the allegations set forth in paragraphs 1 through 31 as though set

forth at length herein.

       23.     At all times relevant herein defendants had a duty to exercise reasonable care in the

design, manufacture, distribution, marketing and/or sale in placing hoverboards into the stream of

commerce.



        24.    Defendants breached this duty in failing to exercise reasonable care in the design,

manufacture, distribution, marketing and/or sale in placing the subject hoverboard into the stream

ofcommerce.

       25.     The fire on November 28, 2016, and the consequent damages sustained by

plaintiffs insured, were caused by defendants' breach oftheir duty.

       26.     As a direct and proximate result of the breach of this duty, the subject incident

occurred, causing plaintiffs insured to sustain severe and significant property damage.

       27.     By reason of the foregoing, plaintiff sustained severe and significant personal

injuries.

        WHEREFORE, plaintiff demands judgment for damages in their favor against

defendants,jointly and severally, together with interest, attorney's fees and costs of suit.
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                                          CERTIFICATION


       I hereby certify this matter is not the subject of another matter pending in the United States

District Court, District of New Jersey.

                                                     KEARNS QUFfy                 CARD,P.C.



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Dated: October 27,2020                                Attorney for Plaintiff
